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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

CG MEDICAL ASSOCIATES, INC. d/b/a
CAREFIRST URGENT CARE,
                                                                 Case No.
                       Plaintiff,                                Judge

v.                                                               Removed from:
                                                                 Common Pleas Court,
RETS TECH CENTER, INC.;                                          Hamilton County, Ohio
EFC TRADE, INC.; AND                                             CASE NO. A-2201478
EDUCATION AFFILIATES, INC.,

                      Defendants.


                                    NOTICE OF REMOVAL

         Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, RETS Tech Center, Inc. ("RETS"); EFC

Trade, Inc. ("EFC"); and Education Affiliates, Inc. ("Education Affiliates") (collectively referred

to herein as "Defendants") file this Notice of Removal, removing Case No. A-2201478 from the

Court of Common Pleas for Hamilton County, Ohio, to the United States District Court for the

Southern District of Ohio. This action is removable pursuant to 28 U.S.C. § 1332 as this Court

has diversity jurisdiction due to the improper joinder of the sole non-diverse defendant, RETS. In

support of removal, Defendants state the following:

                             I.     PROCEDURAL BACKGROUND

         1.    On or around April 26, 2022, Plaintiff filed its Complaint ("Compl.") against

Defendants in the Court of Common Pleas for Hamilton County, Ohio in the civil action styled

CG MEDICAL ASSOCIATES INC DBA CAREFIRST URGENT CARE vs. RETS TECH CENTER

INC DBA FORTIS COLLEGE, et.al., Case No. A-2201478. True and correct copies of all

process, pleadings, and orders served upon Defendants are attached hereto as Exhibit A.


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             2.      The two-count Complaint states claims for: (1) breach of contract; and (2) unjust

enrichment. (See generally Compl.).

             3.      Defendants were served with Summons and Complaint on May 4, 2022.

Accordingly, this Notice of Removal is timely filed pursuant to 28 U.S.C. § 1446(b).

         4.          In filing this Notice, Defendants do not waive and specifically reserve any and all

defenses, exceptions, rights, and motions, including defenses concerning venue and jurisdiction.

No statement or omission in this Notice shall be deemed an admission of any allegations or

damages sought in the Complaint.

                           II.   DIVERSITY JURISDICTION IN THIS CASE

         5.          This Court has original jurisdiction over this case under 28 U.S.C. § 1332(a),

which provides in pertinent part that "[t]he courts shall have original jurisdiction of all civil

actions where the matter in controversy exceeds the sum or value of $75,000, exclusive of

interest nd costs, and is between. . . (1) citizens of different States . . ." See 28 U.S.C. § 1332(a).

                  A. Other Than Defendant RETS, There is Complete Diversity of Citizenship.

         6.          Under 28 U.S.C. §§ 1332 and 1441, a diversity action is removable if there is

complete diversity between the parties and no defendant is a citizen of the State in which such

action is brought.

         7.          Plaintiff CG Medical Associates, Inc. ("CareFirst" or "Plaintiff') is an Ohio

corporation with an address of 7300 Beechmont Avenue, Cincinnati, OH 45230. (See Compl.,

1).

         8.          Defendant EFC is a Delaware corporation with an address of 251 Little Falls

Drive, Wilmington, DE 19808.




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         9.       Defendant Education Affiliates is a Delaware corporation with an address of 251

Little Falls Drive, Wilmington, DE 19808.

         10.      Defendant RETS is an Ohio corporation with an address of 3366 Riverside Drive,

Suite 103, Upper Arlington, OH 43221.

               B. RETS Was Improperly Joined for the Sole Purpose of Defeating Diversity.

         11.      Pursuant to 28 U.S.C. § 1332, this Court has diversity jurisdiction over this

lawsuit because RETS is improperly joined.

         12.      While Defendant RETS is an Ohio corporation, it was improperly joined so its

citizenship is irrelevant for purposes of determining diversity under 8 U.S.C. § 1441(b) (stating

only parties "properly joined" count in assessing propriety of removal based on diversity).

         13.      To establish improper joinder, the removing party must "present sufficient

evidence that a plaintiff could not have established a cause of action against non-diverse

defendants under state law." Coyne v. Am. Tobacco Co., 183 F.3d 488, 493 (6th Cir. 1999).

         14.      When considering whether the in-state defendant has been improperly joined,

courts should pierce the pleadings and consider summary judgment type evidence such as

depositions and affidavits. Casias v. Wal-Mart Stores, Inc., 695 F.3d 428 (6th Cir. 2012). It is

important to note that under this standard, a plaintiff cannot rest on the mere allegations or

denials of their pleadings, as the determination is based on whether there is a basis for the claim

in law. See Coyne at 493.

         15.      Subsequently, Defendants' removal is predicated upon a showing that Plaintiff is

unable to establish a cause of action under Ohio law against RETS. When analyzing fraudulent

joinder questions, the court determines whether the plaintiffs have any reasonable possibility of

recovery. Id.




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             16.   The Complaint alleges two causes of action: (1) breach of contract; and (2) unjust

enrichment. CareFirst cannot establish, or demonstrate any reasonable possibility of establishing,

either of these claims against RETS.

             17.   First, with respect to the claim for breach of contract, the existence of a contract is

an essential element. See Quest Workforce Sols., L.L.C. v. Jobl USA, Inc., 75 N.E.3d 1020 (Ohio

Ct. App. 2016) (to establish a breach of contract, the plaintiff must establish by a preponderance

of the evidence that a contract existed). It logically follows that if there is no existence of a

contract, a breach of contract claim subsequently fails.

         18.       The services provided by CareFirst were provided under an unwritten

arrangement between CareFirst and EFC.

         19.       While RETS, EFC, and Education Affiliates are related corporations, as RETS

and EFC are subsidiaries of Education Affiliates, RETS is an entity separate and apart from EFC

and Education Affiliates. (See Exhibit B).

         20.       RETS and CareFirst did not share either an express nor implied contractual

relationship. Thus, in the absence of a legally recognized contract between RETS and CareFirst,

the breach of contract claim against RETS fails as a matter of law.

         21.       Second, CareFirst cannot reasonably establish a claim for unjust enrichment

against RETS. The essential elements of unjust enrichment are as follows: "(1) a benefit

conferred by a plaintiff upon a defendant; (2) knowledge by the defendant of the benefit; and (3)

retention of the benefit by the defendant under circumstances where it would be unjust to do so

without payment." Padula v. Wagner, 37 N.E.3d 799, 813 (Ohio Ct. App. 2015).




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         22.      As demonstrated above and by the supporting declaration, RETS was not a party

to any contract with Plaintiff. Thus, in the absence of any benefit conferred upon RETS by

CareFirst, any allegation of unjust enrichment fails as a matter of law.

         23.      Accordingly, CareFirst cannot establish, or present a reasonable possibility of

establishing, valid claims against RETS under Ohio law. RETS has been, therefore, improperly

joined and, as a result, this Court has diversity jurisdiction.

               C. The Amount In Controversy Exceeds $75,000.00 Exclusive of Interests and
                  Costs.

         24.      To remove under section 1332, "the matter in controversy [must] exceed [] the

sum or value of $75,000, exclusive of interest and costs...." See 28 U.S.C. 1332(a).

         25.      "To satisfy the amount-in-controversy requirement, at least one plaintiffs claims

must independently meet the amount-in-controversy specification." Karl v. Bizar, No. CIV.A.

2:09-CV-34, 2009 WL 2175981 (S.D. Ohio July 21, 2009) (quoting Everett v. Verizon Wireless,

Inc., 460 F.3d 818 (6th Cir. 2006)). Moreover, courts evaluating the propriety of removal must

consider the Plaintiff's claims at the time of removal. Karl at *3.

         26.      Here, Plaintiff asserts claims against Defendants in an amount in excess of

$75,000.00, exclusive of interest and costs. Specifically, CareFirst's Complaint alleges that

"Defendants are indebted to CareFirst in the approximate amount of $114,044.00." (Compl.,

17). Accordingly, on the face of the Complaint, Plaintiff seeks an amount greater than the

jurisdictional minimum of $75,000.00.

         27.      Consequently, the preponderance of the evidence demonstrates that Plaintiff's

Complaint exceeds the statutory minimum and thus, the requirements for diversity jurisdiction

are met.




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               III.      ALL OTHER REMOVAL PREREQUISITES ARE SATISFIED

         28.          Because this Notice of Removal was filed within thirty days of service of the

Complaint upon Defendants, it is timely under 28 U.S.C. § 1446(b).

         29.          The Western Division of United States District Court for the Southern District of

Ohio is the Court and Division embracing the place where this action is pending in state court.

         30.          Defendants have sought no similar relief with respect to this matter.

         31.          The prerequisites for removal under 28 U.S.C. § 1441 have been met.

         32.          Contemporaneously with the filing of this Notice of Removal, Defendants will

file a copy of the same, along with a Notice of Filing Notice of Removal, with the Court of

Common Pleas for Hamilton County, Ohio.

         33.          A true and correct copy of this Notice of Removal is being provided to Plaintiff,

and to the Court of Common Pleas for Hamilton County, Ohio.

         34.          If any question arises as to the propriety of the removal of this action, Defendants

respectfully request the opportunity to submit a brief and present oral argument in support of its

position that this case was properly removed.

                                            IV.    CONCLUSION

         For the foregoing reasons, Defendants respectfully give notice that this action has been

removed from the Court of Common Pleas for Hamilton County, Ohio, to the Western Division

of the United States District Court for the Southern District of Ohio, being the district and

division for the county in which this action is pending, and requests that this action proceed as

properly removed to this Court.




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             Respectfully submitted this 1st day of June, 2022.


                                                  /s/ Alexandra B. Parriman
                                                  Alexandra B. Parriman (0098912)
                                                  Bricker & Eckler LLP
                                                  201 East Fifth Street, Suite 1110
                                                  Cincinnati, Ohio 45202
                                                  Telephone: 513-870-6578
                                                  Fax: 513-870-6699
                                                  aparriman@bricker.com

                                                  Attorneyfor Defendants RETS Tech Center, Inc.;
                                                  EFC Trade, Inc.; and Education Affiliates, Inc.




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                                CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing was served via the court's e-filing system, or
U.S. Mail, on this 1st day of June, 2022, upon the following parties or their counsel:

Christopher H. Hulburt
Elizabeth M. Johnson
LINDHORST & DREIDAME
312 Walnut Street, Suite 3100
Cincinnati, OH 45202
(513) 421-6630
churlburt@lindhorstlaw.com
Attorneys for Plaintiff




                                                    /s/ Alexandra B. Parriman
                                                    Alexandra B. Parriman




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                                                                     COPY


                            COURT OF COMMON PLEAS
                            HAMILTON COUNTY, OHIO




CG MEDICAL ASSOCIATES INC DBA
    PLAINTIFF
                                                              Use below number on
                                                              all future pleadings
       -- vs --
                                                        No.   A 2201478
                                                                 SUMMONS
RETS TECH CENTER INC DBA FORTI
     DEFENDANT


     EDUCATION AFFILIATES INC    DBA FORTIS COLLEGE
     CORPORATION SERR COMP                       D-3
     251 LITTLE FALLS DR
     WILMINGTON DE 19808



You are notified
that you have been named Defendant(s) in a complaint filed by

     CG MEDICAL ASSOCIATES INC DBA
     7300 BEECHMONT AVENUE
     CINCINNATI OH 45230

                                                                    Plaintiff(s)
in the Hamilton County, COMMON PLEAS CIVIL Division,
PAVAN PARIKH, 1000 MAIN STREET ROOM 315,
CINCINNATI, OH 45202.
You are hereby summoned and required to serve upon the plaintiff's
attorney, or upon the plaintiff, if he/she has no attorney of record, a
copy of an answer to the complaint within twenty-eight (28) days after
service of this summons on you, exclusive of the day of service. Your
answer must be filed with the Court within three (3) days after the
service of a copy of the answer on the plaintiff's attorney.

Further, pursuant to Local Rule 10 of Hamilton County, you are also required to
file a Notification Form to receive notice of all future hearings.

If you fail to appear and defend, judgement by default will be rendered
against you for the relief demanded in the attached complaint.



Name and Address of attorney                      PAVAN PARIKH
CHRISTOPHER H HURLBURT                            Clerk, Court of Common Pleas
312 WALNUT ST                                        Hamilton County, Ohio
SUITE 3100
CINCINNATI         OH           45202
                                             By   RICK HOFMANN
                                                                        Deputy


                                             Date:     April 27, 2022




                                                                                 Exhibit A
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                             PAVAN PARIKH
                 HAMILTOlOT COUNTY CLERK OF COURTS


                                 COIVIMON PLEAS DIVISION

                                 ELECTRONICALLY FILED
                               April 26, 2022 01:38 PM
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                                       Clerk of Courts
                                Hami1ton County, Ohio
                                 CONFIRMATION 1182889


    CG MEDICAL ASSOCIATES                                                       A 2201478
      INC DBA CAREFIRST
         URGENT CAR
                         Vs.
 RETS TECH CENTER INC DPA
      FORTIS COLLEGE
                                                     ,
                                                             ft


    FILING TYPE: INITIAL FILING (IN COUNTY) WITH NO JURY
                           DEMAND
                                           PAGES FILED: 5




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                                         COURT OF COMMON PLEAS
                                          HAMILTON COUNTY, OHIO

            CG MEDICAL ASSOCIATES, INC. d/b/a               : Case No. _
            CAREFIRST URGENT CARE                           :
            7300 Beechmont Avenue                           : (Judge
            Cincinnati, OH 45230                            :

                                       Plaintiff,           : COMPLAINT
            vs.                                             :

            RETS TECH CENTER, INC. d/b/a FORTIS
            COLLEGE
            5026-D Campbell Boulevard
            Baltimore, Maryland 21236

            Please Also Serve This Defendant's              :
            Registered Agent At:                            :

            Statutory Agent Corporation Service
            Company
            50 West Broad Street, Suite 1330
            Columbus, OH 43215

            /_1~1`191

            EFC TRADE, INC., d/b/a FORTIS
            COLLEGE
            5026-D Campbell Boulevard
            Baltimore, Maryland 21236

            Please Also Serve This Defendant's
            Registered Agent At:

            Statutory Agent Corporation Service             :
            Company                                         :
            50 West Broad Street, Suite 1330                :
            Columbus, OH 43215                              :



            EDUCATION AFFILIATES, INC., d/b/a               :
            FORTIS COLLEGE                                  :
            5026-D Campbell Boulevard                       :
            Baltimore, Maryland 21236                       :




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            Please Also Serve This Defendant's
            Registered Agent At:

            Corporation Service Company                         :
            251 Little Falls Drive                              :
            Wilmington, DE 19808                                :

                                    Defendants.                 :


                  Now come the Plaintiff, CG Medical Associates, Inc. d/b/a CareFirst Urgent Care,

           by and through counsel, and for its Complaint against the Defendants, states as follows:

                                      The Parties, Venue, and Jurisdiction

                  1.      The Plaintiff, CG Medical Associates, Inc. d/b/a CareFirst Urgent Care

           ("CareFirst"), is an Ohio corporation with its principal place of business in Hamilton

           County, Ohio. CareFirst provides patient-centered care for all non-life threatening injuries

           and illnesses.

                  2.      Upon information and belief, the Defendant, Rets Tech Center, Inc. d/b/a

           Fortis College ("Rets Tech"), is an Ohio corporation with its principal place of business

           located in Maryland.

                  3.      Upon information and belief, the Defendant, EFC Trade, Inc., d/b/a Fortis

           College ("EFC Trade"), is a Delaware corporation ,with its principal place of business

           located in Maryland.

                  4.      Upon information and belief, the Defendant, Education Affiliates, Inc., d/b/a

           Fortis College ("Education Affiliates"), is a Delaware corporation with its principal place of

           business located in Maryland.

                  5.      Venue is proper in this Court pursuant to Civ. R. 3(A). Among other things,

           Hamilton County is the county is which the Defendants conducted activity that gave rise

           to the claims for relief; is the county in which all or part of the claims for relief arose; is the

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           county where, among other things, the money at issue in this action is owed; and is the

           county where CareFirst resides.

                   6.     This Court has jurisdiction over the subject matter of this dispute and the

           persons of these Defendants who either are located in Ohio, conduct their business in

           Ohio, have transacted business in Ohio, and/or are intentionally causing tortious injury in

           Ohio.

                                          Facts Common to AII Counts

                   7.     The preceding paragraphs of this Complaint are incorporated herein by

           reference as if fully rewritten.

                   8.     Upon information and belief, Rets Tech, EFC Trade, and/or Education

           Affiliates own and operate a college with campuses in Cincinnati, Ohio, Centerville., Ohio,

           and Columbus, Ohio under the name, "Fortis College" ("Fortis")

                   9.     In 2019, CareFirst and Defendants entered into an implied and/or express

           agreement wherein CareFirst agreed to provide medical services to Fortis' students at

           CareFirst clinics located throughout Southern Ohio.

                   10.    Pursuant to this implied and/or express agreement, CareFirst was to treat

           Fortis students without requiring payment at the time of visit and then bill Defendants

           directly for services after the fact.

                   11.   At the end of 2019, CareFirst began accepting Fortis students as patients.

           Since that time, CareFirst has treated nearly a thousand Fortis students.

                   12.   In return for the medical services provided to Fortis students, Defendants

           are indebted to CareFirst in the approximate principal amount of $114,044.00.




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                  13.     Despite multiple demands for payment, Defendants have refused to pay the

           amount owed.

                                               First Cause of Action
                                               (Breach of Contract)

                  14.     The preceding paragraphs of this Complaint are incorporated herein by

           reference as if fully rewritten.

                  15.     Defendants have breached its express and/or implied contractual

           obligations by, among other things, failing to pay CareFirst as aforesaid.

                  16.     CareFirst has substantially performed with respect to the agreement and

           has demanded payment of the amounts due — which demands Defendants have ignored.

                  17.    As a direct and proximate result of Defendants' breach, Defendants are

           indebted to CareFirst in the approximate amount of $114,044.00.

                                              Second Cause of Action
                                               (Unjust Enrichment)

                  18.    The preceding paragraphs of this Complaint are incorporated herein by

           reference as if fully rewritten.

                  19.    Defendants are indebted to CareFirst in quantum meruit to avoid the unjust

           enrichment of each.

                  20.    The amount owed by Defendants to CareFirst is as previously stated herein.

                  WHEREFORE, having set forth its claims against the Defendants, the PlaintifF, CG

           Medical Associates, Inc. d/b/a CareFirst Urgent Care, prays for the following relief against

           the Defendants, jointly and severally:

                  (A)    Monetary damages in the amount of $114,044.00 in connection with the

           Defendants' breach of contract;



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                  (B)    AII amounts due to the Plaintiff CG Medical Associates, Inc. d/b/a CareFirst

           Urgent Care in connection with the services provided to Defendants as set forth herein;

           and

                  (C)    AII further legal and equitable relief to which the Plaintiff is entitled.



                                                       Respectfully submitted,

                                                       /s/ Christopher H. Hurlburt
                                                       Christopher H. Hurlburt (#0072599)
                                                       Elizabeth M. Johnson (#0097894)
                                                       LINDHORST & DREIDAME
                                                       312 Walnut Street, Suite 3100
                                                       Cincinnati, OH 45202
                                                       Telephone: (513) 421-6630
                                                       Facsimile:    (513) 421-0212
                                                       Email:        churlburtC@-lindhorstlaw.com
                                                                     ejohnson .lindhorstlaw.com
                                                       Attorneys for Plaintiff



           TO THE CLERK: Please serve Defendants via certified mail service, return receipt
           requested.




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                                                                     Exhibit B
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